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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 STUDENT DOE, et al,

                       Plaintiff,
                                                         CIVIL ACTION
            v.                                           NO. 22-14

 ABINGTON FRIENDS SCHOOL,

                       Defendant.

                                       ORDER

        AND NOW, this 29th day of March, 2022, upon consideration of Defendant

Abington Friends School’s Motion to Dismiss (ECF 5), and Plaintiff having filed an

Amended Complaint (ECF 6), it is hereby ORDERED that the motion is DENIED as

moot.

                                               BY THE COURT:


                                                /s/ Gerald J. Pappert
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                                               GERALD J. PAPPERT, J.
